            Case 1:12-vv-00876-UNJ Document 41 Filed 08/26/14 Page 1 of 2




               In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 12-876V
                                          (Not to be published)

*************************
                           *
BEVERLY A. BAHMANYARI,     *
                           *                                     Filed: August 4, 2014
               Petitioner, *
                           *
           v.              *
                           *                                     Decision by Stipulation; Attorneys’
SECRETARY OF HEALTH        *                                     Fees and Costs
AND HUMAN SERVICES,        *
                           *
               Respondent. *
                           *
*************************

Diana S. Sedar, Maglio, Christopher & Toale, Sarasota, FL, for Petitioner.

Lara A. Englund, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                            ATTORNEYS’ FEES AND COSTS DECISION 1

       On December 14, 2012, Beverly A. Bahmanyari filed a petition seeking compensation
under the National Vaccine Injury Compensation Program. On August 4, 2014, I issued a
decision finding the parties’ stipulation to be reasonable and granting the Petitioner the award
outlined by the stipulation.



1
   Because this decision contains a reasoned explanation for my action in this case, it will be posted on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, §
205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C §
300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential
information. To do so, Vaccine Rule 18(b) permit each party 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
           Case 1:12-vv-00876-UNJ Document 41 Filed 08/26/14 Page 2 of 2



        On August 4, 2014, counsel for both parties filed another joint stipulation, this time
regarding attorneys’ fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $17,822.83 in the form of a check jointly payable to Petitioner and
Petitioner’s counsel. This amount represents a sum to which Respondent does not object. In
addition, in accordance with General Order #9, Petitioner filed a statement on August 4, 2014,
indicating that she had incurred no reimbursable costs in pursuit of her claim.

       I approve the requested amount for attorneys’ fees and costs as reasonable. Accordingly,
an award should be made in the form of a check jointly payable to Petitioner and Petitioner’s
counsel, Diana S. Sedar, Esq., in the amount of $17,822.83. In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation. 2



         IT IS SO ORDERED.

                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing (jointly or separately) notices
renouncing their right to seek review.
